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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                   CHARLESTON DIVISION


UNITED STATES OF AMERICA,                         )        Criminal No. 2:21-mj-42
                                                  )
                v.                                )
Sergio Buenaventura                               )                ORDER
                                                  )
                                                  )


        Pursuant to Federal Rule of Criminal Procedure 5(f), as amended by the Due Process

Protections Act,1 this Order confirms the disclosure obligation of the prosecutor under Brady v.

Maryland, 373 U.S. 83 (1963),2 and the possible consequences of violating Brady and/or this

Order, as set forth in applicable law. The Clerk shall provide a copy of this Order to the

prosecution and defense counsel.

        IT IS SO ORDERED.




Date: April 28, 2021
Charleston, South Carolina




1
         Due Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (2020).
2
         See generally Long v. Hooks, 972 F.3d 442, 456 (4th Cir. 2020 (en banc) (“Brady v. Maryland
instructs that ‘the suppression by the prosecution of evidence favorable to the accused’ violates due
process where the evidence is ‘material either to guilt or to punishment, irrespective of the good faith or
bad faith of the prosecution.’” (quoting Brady, 373 U.S. at 87)).
